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 13
 14                         UNITED STATES DISTRICT COURT
 15                        CENTRAL DISTRICT OF CALIFORNIA
 16                                 SOUTHERN DIVISION
 17
 18     FIGHT CAMP CONDITIONING,              Case No. 8:20-cv-00417-JLS-KES
        LLC,
 19                                           ORDER RE STIPULATED
                       Plaintiff,             PROTECTIVE ORDER
 20
              v.                              [DISCOVERY DOCUMENT:
 21                                           REFERRED TO MAGISTRATE JUDGE
        HYKSO INC.,                           KAREN E. SCOTT]
 22
                       Defendant.
 23
                                              Complaint Served:     March 4, 2020
 24
 25
 26
 27     HYKSO INC.,
 28
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   1                     Counter Claimant,
   2          v.
   3    FIGHT CAMP CONDITIONING,
        LLC,
   4
                        Counter Defendant.
   5
   6
   7
   8         Plaintiff and Counterdefendant, Fight Camp Conditioning, LLC, and
   9   Defendant and Counterclaimant, Hykso, Inc., (collectively the “Parties”), by and
 10    through their undersigned attorneys, stipulate to the following protective order.
 11          A.     PURPOSES AND LIMITATIONS
 12          Discovery in this action is likely to involve production of confidential,
 13    proprietary, or private information for which special protection from public
 14    disclosure and from use for any purpose other than prosecuting this litigation may
 15    be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
 16    enter the following Stipulated Protective Order. The parties acknowledge that this
 17    Order does not confer blanket protections on all disclosures or responses to
 18    discovery and that the protection it affords from public disclosure and use extends
 19    only to the limited information or items that are entitled to confidential treatment
 20    under the applicable legal principles. The parties further acknowledge, as set forth
 21    in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
 22    file confidential information under seal; Civil Local Rule 79-5 sets forth the
 23    procedures that must be followed and the standards that will be applied when a
 24    party seeks permission from the court to file material under seal.
 25          B.     GOOD CAUSE STATEMENT
 26          This action is likely to involve trade secrets, customer and pricing lists and
 27    other valuable research, development, commercial, financial, technical and/or
 28    proprietary information for which special protection from public disclosure and

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   1   from use for any purpose other than prosecution of this action is warranted. Such
   2   confidential and proprietary materials and information consist of, among other
   3   things, confidential business or financial information, information regarding
   4   confidential business practices, or other confidential research, development, or
   5   commercial information (including information implicating privacy rights of third
   6   parties), information otherwise generally unavailable to the public, or which may be
   7   privileged or otherwise protected from disclosure under state or federal statutes,
   8   court rules, case decisions, or common law. Accordingly, to expedite the flow of
   9   information, to facilitate the prompt resolution of disputes over confidentiality of
 10    discovery materials, to adequately protect information the parties are entitled to
 11    keep confidential, to ensure that the parties are permitted reasonable necessary uses
 12    of such material in preparation for and in the conduct of trial, to address their
 13    handling at the end of the litigation, and serve the ends of justice, a protective order
 14    for such information is justified in this matter. It is the intent of the Parties that
 15    information will not be designated as confidential or highly confidential for tactical
 16    reasons and that nothing be so designated without a good faith belief that it has
 17    been maintained in a confidential, non-public manner, and there is good cause why
 18    it should not be part of the public record of this case.
 19                 2.     DEFINITIONS
 20           2.1   Action: the above referenced lawsuit, case no. 8:20-cv-00417-JLS-
 21    KES.
 22           2.2   Challenging Party: a Party or Non-Party that challenges the
 23    designation of information or items under this Order.
 24           2.3 “CONFIDENTIAL” Information or Items: information (regardless of
 25    how it is generated, stored or maintained) or tangible things that qualify for
 26    protection under Federal Rule of Civil Procedure 26(c), and as specified above in
 27    the Good Cause Statement.
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   1         2.4 Counsel: Outside Counsel of Record and House Counsel (as well as their
   2   support staff).
   3         2.5 Designating Party: a Party or Non-Party that designates information or
   4   items that it produces in disclosures or in responses to discovery as
   5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –ATTORNEYS’ EYES
   6   ONLY.”
   7         2.6    Disclosure or Discovery Material: all items or information, regardless
   8   of the medium or manner in which it is generated, stored, or maintained (including,
   9   among other things, testimony, transcripts, and tangible things), that are produced
 10    or generated in disclosures or responses to discovery in this matter.
 11          2.7 Expert: a person with specialized knowledge or experience in a matter
 12    pertinent to the litigation who has been retained by a Party or its counsel to serve as
 13    an expert witness or as a consultant in this Action.
 14          2.8 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 15    Information or Items: extremely sensitive “Confidential Information or Items,”
 16    disclosure of which to another Party or Non-Party would create a substantial risk of
 17    serious harm that could not be avoided by less restrictive means.
 18          2.9 House Counsel: attorneys who are employees of a party to this Action.
 19    House Counsel does not include Outside Counsel of Record or any other outside
 20    counsel.
 21          2.10 Non-Party: any natural person, partnership, corporation, association, or
 22    other legal entity not named as a Party to this action.
 23          2.11 Outside Counsel of Record: attorneys who are not employees of a
 24    party to this Action but are retained to represent or advise a party to this Action and
 25    have appeared in this Action on behalf of that party or are affiliated with a law firm
 26    which has appeared on behalf of that party, and includes support staff.
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   1         2.12 Party: any party to this Action, including all of its officers, directors,
   2   employees, consultants, retained experts, and Outside Counsel of Record (and their
   3   support staffs).
   4         2.13 Producing Party: a Party or Non-Party that produces Disclosure or
   5   Discovery Material in this Action.
   6         2.14 Professional Vendors: persons or entities that provide litigation support
   7   services (e.g., photocopying, videotaping, translating, preparing exhibits or
   8   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   9   and their employees and subcontractors.
 10          2.15 Protected Material: any Disclosure or Discovery Material that is
 11    designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 12    ATTORNEYS’ EYES ONLY.”
 13          2.16 Receiving Party: a Party that receives Disclosure or Discovery Material
 14    from a Producing Party.
 15                 3.    SCOPE
 16          The protections conferred by this Stipulation and Order cover not only
 17    Protected Material (as defined above), but also (1) any information copied or
 18    extracted from Protected Material; (2) all copies, excerpts, summaries, or
 19    compilations of Protected Material; and (3) any testimony, conversations, or
 20    presentations by Parties or their Counsel that might reveal Protected Material.
 21    Any use of Protected Material at trial shall be governed by the orders of the trial
 22    judge. This Order does not govern the use of Protected Material at trial.
 23                 4.    DURATION
 24          Even after final disposition of this litigation, the confidentiality obligations
 25    imposed by this Order shall remain in effect until a Designating Party agrees
 26    otherwise in writing or a court order otherwise directs. Final disposition shall be
 27    deemed to be the later of (1) dismissal of all claims and defenses in this Action,
 28    with or without prejudice; and (2) final judgment herein after the completion and

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   1   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
   2   including the time limits for filing any motions or applications for extension of time
   3   pursuant to applicable law.
   4                5.     DESIGNATING PROTECTED MATERIAL
   5         5.1    Exercise of Restraint and Care in Designating Material for Protection.
   6         Each Party or Non-Party that designates information or items for protection
   7   under this Order must take care to limit any such designation to specific material
   8   that qualifies under the appropriate standards. To the extent it is practical to do so,
   9   the Designating Party must designate for protection only those parts of material,
 10    documents, items, or oral or written communications that qualify so that other
 11    portions of the material, documents, items, or communications for which protection
 12    is not warranted are not swept unjustifiably within the ambit of this Order.
 13          Mass, indiscriminate, or routinized designations are prohibited. Designations
 14    that are shown to be clearly unjustified or that have been made for an improper
 15    purpose (e.g., to unnecessarily encumber the case development process or to
 16    impose unnecessary expenses and burdens on other parties) may expose the
 17    Designating Party to sanctions.
 18          If it comes to a Designating Party’s attention that information or items that it
 19     designated for protection do not qualify for protection, that Designating Party must
 20     promptly notify all other Parties that it is withdrawing the inapplicable
 21     designation.
 22          5.2 Manner and Timing of Designations. Except as otherwise provided in this
 23    Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 24    stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
 25    under this Order must be clearly so designated before the material is disclosed or
 26    produced.
 27          Designation in conformity with this Order requires:
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   1         (a) for information in documentary form (e.g., paper or electronic
   2   documents, but excluding transcripts of depositions or other pretrial or trial
   3   proceedings), that the Producing Party affix the legend “CONFIDENTIAL” or
   4   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” (hereinafter
   5   “CONFIDENTIALITY legend”), to each page that contains protected material. If
   6   only a portion or portions of the material on a page qualifies for protection, the
   7   Producing Party also must clearly identify the protected portion(s) (e.g., by making
   8   appropriate markings in the margins).
   9         A Party or Non-Party that makes original documents available for inspection
 10    need not designate them for protection until after the inspecting Party has indicated
 11    which documents it would like copied and produced. During the inspection and
 12    before the designation, all of the material made available for inspection shall be
 13    deemed “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the
 14    inspecting Party has identified the documents it wants copied and produced, the
 15    Producing Party must determine which documents, or portions thereof, qualify for
 16    protection under this Order. Then, before producing the specified documents, the
 17    Producing Party must affix the “CONFIDENTIALITY legend” to each page that
 18    contains Protected Material. If only a portion or portions of the material on a page
 19    qualifies for protection, the Producing Party also must clearly identify the protected
 20    portion(s) (e.g., by making appropriate markings in the margins).
 21          (b) for testimony given in deposition or in other pretrial or trial proceedings,
 22    that the Designating Party identify on the record, before the close of the deposition,
 23    hearing, or other proceeding, all protected testimony and specify the level of
 24    protection being asserted. When it is impractical to identify separately each portion
 25    of testimony that is entitled to protection and it appears that substantial portions of
 26    the testimony may qualify for protection, the Designating Party may invoke on the
 27    record (before the deposition, hearing, or other proceeding is concluded) a right to
 28    have up to 21 days after receipt of the certified copy of the transcript to identify the

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   1   specific portions of the testimony as to which protection is sought and to specify the
   2   level of protection being asserted. Only those portions of the testimony that are
   3   appropriately designated for protection within the 21 days shall be covered by the
   4   provisions of this Stipulated Protective Order.
   5         Parties shall give the other parties notice if they reasonably expect a
   6   deposition, hearing or other proceeding to include Protected Material so that the
   7   other parties can ensure that only authorized individuals who have signed the
   8   “Acknowledgment and Agreement to Be Bound” (Exhibit A) are present at those
   9   proceedings. This does not require a party to disclose work product information.
 10    The use of a document as an exhibit at a deposition shall not in any way affect its
 11    designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
 12    ATTORNEYS’ EYES ONLY.”
 13          Transcripts containing Protected Material shall have an obvious legend on
 14    the title page that the transcript contains Protected Material, and the title page shall
 15    be followed by a list of all pages (including line numbers as appropriate) that have
 16    been designated as Protected Material and the level of protection being asserted by
 17    the Designating Party. The Designating Party shall inform the court reporter of
 18    these requirements. Any transcript that is prepared before the expiration of a 21-day
 19    period for designation shall be treated during that period as if it had been designated
 20    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless
 21    otherwise agreed. After the expiration of that period, the transcript shall be treated
 22    only as actually designated.
 23          (c) for information produced in some form other than documentary and for
 24    any other tangible items, that the Producing Party affix in a prominent place on the
 25    exterior of the container or containers in which the information is stored the
 26    legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
 27    EYES ONLY.” If only a portion or portions of the information warrants protection,
 28    the Producing Party, to the extent practicable, shall identify the protected portion(s).

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   1         5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent
   2   failure to designate qualified information or items does not, standing alone, waive
   3   the Designating Party’s right to secure protection under this Order for such
   4   material. Upon timely correction of a designation, the Receiving Party must make
   5   reasonable efforts to assure that the material is treated in accordance with the
   6   provisions of this Order.
   7         6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
   8         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
   9   designation of confidentiality at any time that is consistent with the Court’s
 10    Scheduling Order.
 11          6.2    Meet and Confer. The Challenging Party shall initiate the dispute
 12    resolution process under Local Rule 37.1 et seq.
 13          6.3 The burden of persuasion in any such challenge proceeding shall be on
 14    the Designating Party. Frivolous challenges, and those made for an improper
 15    purpose (e.g., to harass or impose unnecessary expenses and burdens on other
 16    parties) may expose the Challenging Party to sanctions. Unless the Designating
 17    Party has waived or withdrawn the confidentiality designation, all parties shall
 18    continue to afford the material in question the level of protection to which it is
 19    entitled under the Producing Party’s designation until the Court rules on the
 20    challenge.
 21          7.     ACCESS TO AND USE OF PROTECTED MATERIAL
 22          7.1 Basic Principles. A Receiving Party may use Protected Material that is
 23    disclosed or produced by another Party or by a Non-Party in connection with this
 24    Action only for prosecuting, defending, or attempting to settle this Action. Such
 25    Protected Material may be disclosed only to the categories of persons and under the
 26    conditions described in this Order. When the Action has been terminated, a
 27    Receiving Party must comply with the provisions of section below (FINAL
 28    DISPOSITION). Protected Material must be stored and maintained by a Receiving

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   1   Party at a location and in a secure manner that ensures that access is limited to the
   2   persons authorized under this Order.
   3         7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
   4   otherwise ordered by the court or permitted in writing by the Designating Party, a
   5   Receiving Party may disclose any information or item designated
   6   “CONFIDENTIAL” only to:
   7         (a)    the Receiving Party’s Outside Counsel of Record in this Action, as
   8         well as employees of said Outside Counsel of Record to whom it is
   9         reasonably necessary to disclose the information for this Action;
  10         (b)    the officers, directors, and employees (including House Counsel) of
  11         the Receiving Party to whom disclosure is reasonably necessary for this
  12   Action;
  13         (c) Experts (as defined in this Order) of the Receiving Party to whom
  14   disclosure is reasonably necessary for this Action and who have signed the
  15   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  16         (d) the court and its personnel;
  17         (e) court reporters and their staff;
  18         (f) professional jury or trial consultants, mock jurors, and Professional
  19    Vendors to whom disclosure is reasonably necessary for this Action and who have
  20    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  21         (g) the author or recipient of a document containing the information or a
  22   custodian or other person who otherwise possessed or knew the information;
  23         (h) during their depositions, witnesses, and attorneys for witnesses, in the
  24   Action to whom disclosure is reasonably necessary provided: (1) the deposing party
  25   requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they
  26   will not be permitted to keep any confidential information unless they sign the
  27   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
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   1   agreed by the Designating Party or ordered by the court. Pages of transcribed
   2   deposition testimony or exhibits to depositions that reveal Protected Material may
   3   be separately bound by the court reporter and may not be disclosed to anyone
   4   except as permitted under this Stipulated Protective Order; and
   5         (i) any mediator or settlement officer, and their supporting personnel,
   6   mutually agreed upon by any of the parties engaged in settlement discussions.
   7         7.3    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   8   ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
   9   writing by the Designating Party, a Receiving Party may disclose any information
  10   or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
  11   only to:
  12         (a) the Receiving Party’s Outside Counsel of Record in this action, as well as
  13   employees of said Outside Counsel of Record to whom it is reasonably necessary to
  14   disclose the information for this litigation;
  15         (b) Experts of the Receiving Party (1) to whom disclosure is reasonably
  16   necessary for this litigation, and (2) who have signed the “Acknowledgment and
  17   Agreement to Be Bound” (Exhibit A). If the expert is a competitor of the
  18   Designating Party, or an employee or consultant of a competitor of the Designating
  19   Party, the procedures set forth in paragraph 7.4(a), below, must also be followed.
  20         (c) the court and its personnel;
  21         (d) the following professional staff:
  22                (1) court reporters and their staff,
  23                (2) Professional Vendors to whom disclosure is reasonably necessary
  24         for this litigation, and
  25                (3) professional jury or trial consultants who have signed the
  26         “Acknowledgement and Agreement to Be Bound” (Exhibit A); and
  27         (e) the author or recipient of a document containing the information or a
  28   custodian or other person who otherwise possessed or knew the information.

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   1         7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY
   2   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or Items to
   3   Experts.
   4         (a) Unless otherwise ordered by the court or agreed to in writing by the
   5   Designating Party, a Party that seeks to disclose to an Expert (as defined in this
   6   Order), who is a competitor of the Designating Party, or an employee or consultant
   7   of a competitor of the Designating Party, any information or item that has been
   8   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant
   9   to paragraph 7.3(b) first must make a written request to the Designating Party that
  10   (1) identifies the general categories of “HIGHLY CONFIDENTIAL –
  11   ATTORNEYS’ EYES ONLY” information that the Receiving Party seeks
  12   permission to disclose to the Expert, (2) sets forth the full name of the Expert and
  13   the city and state of his or her primary residence, (3) attaches a copy of the Expert’s
  14   current resume, (4) identifies the Expert’s current employer(s), (5) identifies each
  15   person or entity from whom the Expert has received compensation or funding for
  16   work in his or her areas of expertise or to whom the expert has provided
  17   professional services, including in connection with a litigation, at any time during
  18   the preceding five years, and (6) identifies (by name and number of the case, filing
  19   date, and location of court) any litigation in connection with which the Expert has
  20   offered expert testimony, including through a declaration, report, or testimony at a
  21   deposition or trial, during the preceding five years.
  22         (b) A Party that makes a request and provides the information specified in the
  23   preceding respective paragraph may disclose the subject Protected Material to the
  24   identified Expert unless, within 14 days of delivering the request, the Party receives
  25   a written objection from the Designating Party. Any such objection must set forth in
  26   detail the grounds on which it is based.
  27         (c) A Party that receives a timely written objection must meet and confer with
  28   the Designating Party (through direct voice to voice dialogue) to try to resolve the

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   1   matter by agreement within seven (7) days of the written objection. If no agreement
   2   is reached, the Party seeking to make the disclosure to the Expert may file a motion
   3   as provided in Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if
   4   applicable) seeking permission from the court to do so. Any such motion must
   5   describe the circumstances with specificity, set forth in detail the reasons why the
   6   disclosure to the Expert is reasonably necessary, assess the risk of harm that the
   7   disclosure would entail, and suggest any additional means that could be used to
   8   reduce that risk. In addition, any such motion must be accompanied by a competent
   9   declaration describing the parties’ efforts to resolve the matter by agreement (i.e.,
  10   the extent and the content of the meet and confer discussions) and setting forth the
  11   reasons advanced by the Designating Party for its refusal to approve the disclosure.
  12         In any such proceeding, the Party opposing disclosure to the Expert shall bear
  13   the burden of proving that the risk of harm that the disclosure would entail (under
  14   the safeguards proposed) outweighs the Receiving Party’s need to disclose the
  15   Protected Material to its Expert.
  16         8. PROTECTED MATERIAL SUBPOENAED OR ORDERED
  17             PRODUCED IN OTHER LITIGATION
  18         If a Party is served with a subpoena or a court order issued in other litigation
  19   that compels disclosure of any information or items designated in this Action as
  20   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  21   ONLY,” that Party must:
  22         (a) promptly notify in writing the Designating Party. Such notification
  23   shall include a copy of the subpoena or court order;
  24         (b) promptly notify in writing the party who caused the subpoena or order
  25   to issue in the other litigation that some or all of the material covered by the
  26   subpoena or order is subject to this Protective Order. Such notification shall include
  27   a copy of this Stipulated Protective Order; and
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   1         (c) cooperate with respect to all reasonable procedures sought to be pursued
   2   by the Designating Party whose Protected Material may be affected.
   3         If the Designating Party timely seeks a protective order, the Party served with
   4   the subpoena or court order shall not produce any information designated in this
   5   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
   6   EYES ONLY” before a determination by the court from which the subpoena or
   7   order issued, unless the Party has obtained the Designating Party’s permission. The
   8   Designating Party shall bear the burden and expense of seeking protection in that
   9   court of its confidential material and nothing in these provisions should be
  10   construed as authorizing or encouraging a Receiving Party in this Action to disobey
  11   a lawful directive from another court.
  12         9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  13            PRODUCED IN THIS LITIGATION
  14         (a) The terms of this Order are applicable to information produced by a Non-
  15   Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  16   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information produced
  17   by Non-Parties in connection with this litigation is protected by the remedies and
  18   relief provided by this Order. Nothing in these provisions should be construed as
  19   prohibiting a Non-Party from seeking additional protections.
  20         (b) In the event that a Party is required, by a valid discovery request, to
  21   produce a Non-Party’s confidential information in its possession, and the Party is
  22   subject to an agreement with the Non-Party not to produce the Non-Party’s
  23   confidential information, then the Party shall:
  24                (1) promptly notify in writing the Requesting Party and the Non-Party
  25   that some or all of the information requested is subject to a confidentiality
  26   agreement with a Non-Party;
  27                (2) promptly provide the Non-Party with a copy of the Stipulated
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   1   Protective Order in this Action, the relevant discovery request(s), and a reasonably
   2   specific description of the information requested; and
   3                (3) make the information requested available for inspection by the
   4   Non-Party, if requested.
   5         (c) If the Non-Party fails to seek a protective order from this court within 14
   6   days of receiving the notice and accompanying information, the Receiving Party
   7   may produce the Non-Party’s confidential information responsive to the discovery
   8   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
   9   not produce any information in its possession or control that is subject to the
  10   confidentiality agreement with the Non-Party before a determination by the court.
  11   Absent a court order to the contrary, the Non-Party shall bear the burden and
  12   expense of seeking protection in this court of its Protected Material.
  13         10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  14         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  15   Protected Material to any person or in any circumstance not authorized under this
  16   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  17   writing the Designating Party of the unauthorized disclosures, (b) use its best
  18   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
  19   person or persons to whom unauthorized disclosures were made of all the terms of
  20   this Order, and (d) request such person or persons to execute the “Acknowledgment
  21   and Agreement to Be Bound” that is attached hereto as Exhibit A.
  22         11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  23               PROTECTED MATERIAL
  24         When a Producing Party gives notice to Receiving Parties that certain
  25   inadvertently produced material is subject to a claim of privilege or other
  26   protection, the obligations of the Receiving Parties are those set forth in Federal
  27   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
  28   whatever procedure may be established in an e-discovery order that provides for

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   1   production without prior privilege review. Pursuant to Federal Rule of Evidence
   2   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
   3   of a communication or information covered by the attorney-client privilege or work
   4   product protection, the parties may incorporate their agreement in the stipulated
   5   protective order submitted to the court.
   6         12.    MISCELLANEOUS
   7         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
   8   person to seek its modification by the Court in the future.
   9         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  10   Protective Order no Party waives any right it otherwise would have to object to
  11   disclosing or producing any information or item on any ground not addressed in
  12   this Stipulated Protective Order. Similarly, no Party waives any right to object on
  13   any ground to use in evidence of any of the material covered by this Protective
  14   Order.
  15         12.3 Filing Protected Material. A Party that seeks to file under seal any
  16   Protected Material must comply with Civil Local Rule 79-5. Protected Material
  17   may only be filed under seal pursuant to a court order authorizing the sealing of the
  18   specific Protected Material at issue. If a Party's request to file Protected Material
  19   under seal is denied by the court, then the Receiving Party may file the information
  20   in the public record unless otherwise instructed by the court.
  21                13.    FINAL DISPOSITION
  22         After the final disposition of this Action, as defined in paragraph 4, within 60
  23   days of a written request by the Designating Party, each Receiving Party must
  24   return all Protected Material to the Producing Party or destroy such material. As
  25   used in this subdivision, “all Protected Material” includes all copies, abstracts,
  26   compilations, summaries, and any other format reproducing or capturing any of the
  27   Protected Material. Whether the Protected Material is returned or destroyed, the
  28   Receiving Party must submit a written certification to the Producing Party (and, if

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   1   not the same person or entity, to the Designating Party) by the 60 day deadline that
   2   (1) identifies (by category, where appropriate) all the Protected Material that was
   3   returned or destroyed and (2) affirms that the Receiving Party has not retained any
   4   copies, abstracts, compilations, summaries or any other format reproducing or
   5   capturing any of the Protected Material. Notwithstanding this provision, Counsel
   6   are entitled to retain an archival copy of all pleadings, motion papers, trial,
   7   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
   8   and trial exhibits, expert reports, attorney work product, and consultant and expert
   9   work product, even if such materials contain Protected Material. Any such archival
  10   copies that contain or constitute Protected Material remain subject to this Protective
  11   Order as set forth in Section 4 (DURATION).
  12         14.    Any violation of this Order may be punished by any and all
  13   appropriate measures including, without limitation, contempt proceedings and/or
  14   monetary sanctions.
  15         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
  16         DATED _11/04/2020___________________
  17         __/s/ Lena Bacani______________________
  18         Attorneys for Plaintiff
  19
  20         DATED: __11/04/2020________________
  21         __/s/ Kainoa Asuega____________________
  22         Attorneys for Defendant
  23
  24         FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
  25
  26         DATED: November 5, 2020
  27                                           _______________________________
                                               _____________________________
                                               Honorable Karen E. Scott
  28                                           United States Magistrate Judge

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   1                                        EXHIBIT A
   2         ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3   I, ____________________________________ [print              or     type full     name],
   4   of ___________________________________________ [print or type full address],
   5   declare under penalty of perjury that I have read in its entirety and understand the
   6   Stipulated Protective Order that was issued by the United States District Court for
   7   the Central District of California on [date] in the case of FIGHT CAMP
   8   CONDITIONING, LLC. V. HYKSO, INC., (Case No. 8:20-cv-00417-JLS-KES).
   9         I agree to comply with and to be bound by all the terms of this Stipulated
  10   Protective Order and I understand and acknowledge that failure to so comply could
  11   expose me to sanctions and punishment in the nature of contempt. I solemnly
  12   promise that I will not disclose in any manner any information or item that is
  13   subject to this Stipulated Protective Order to any person or entity except in strict
  14   compliance with the provisions of this Order.
  15         I further agree to submit to the jurisdiction of the United States District Court
  16   for the Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint __________________________ [print
  19   or type full name] of _______________________________________ [print or type
  20   full address and telephone number] as my California agent for service of process in
  21   connection with this action or any proceedings related to enforcement of this
  22   Stipulated Protective Order.
  23         Date: __________________________________________________
  24         City and State where sworn and signed: _______________________
  25         Printed name: ___________________________________________
  26         Signature: ______________________________________________
  27
  28

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